        Case 1:23-cv-01115-MIS-KK Document 32 Filed 01/17/24 Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


    STATE OF NEW MEXICO, EX REL.
    RAÚL TORREZ, ATTORNEY GENERAL,
                                                            PLAINTIFF STATE OF NEW
                                Plaintiff,                  MEXICO’S MOTION FOR
                                                            LEAVE TO FILE LESS-
                - v. -                                      REDACTED AMENDED
                                                            COMPLAINT
    META PLATFORMS, INC.; INSTAGRAM, LLC;
    META PAYMENTS, INC.; META PLATFORMS                     Civil Action No. 1:23-cv-01115-
    TECHNOLOGIES, LLC; and MARK                             MIS-KK
    ZUCKERBERG,
                                                            Removed from First Judicial District
                                Defendants.                 Court, County of Santa Fe, New
                                                            Mexico, Case No. D-101-CV-2023-
                                                            02838


            PLAINTIFF STATE OF NEW MEXICO’S MOTION FOR LEAVE
                TO FILE LESS-REDACTED AMENDED COMPLAINT

        Plaintiff, the State of New Mexico, respectfully moves this Court for leave to file a less-

redacted version of the Amended Complaint, representing the product of negotiations with

Defendants (which remain ongoing). A copy of the less-redacted version of the Amended

Complaint is attached hereto as Exhibit 1.1

        On January 15, 2024, counsel for the State requested that Defendants consent to the relief

sought in this motion and advised that the State would be filing the motion today. Counsel sent a




1
  The less-redacted version of the Amended Complaint attached hereto does not contain additional
allegations or otherwise supplant the Amended Complaint previously filed. Nor does the State, by
filing this motion, consent to federal jurisdiction over its claims or otherwise waive the objections
to jurisdictions raised in the State’s Motion to Remand (Dkt. 30).


                                                 1
        Case 1:23-cv-01115-MIS-KK Document 32 Filed 01/17/24 Page 2 of 5




follow-up email earlier this morning. Despite having agreed to the removal of redactions as

reflected in Exhibit 1, Defendants’ counsel never responded to the State’s request.

       In support of this Motion, the State avers as follows:

       1.      On December 5, 2023, the State filed a Complaint in this action asserting claims

under the Unfair Practices Act, NMSA 1978, §§ 57-12-1 to -26 (1967, as amended through 2009)

(the “UPA”) and for public nuisance. The Complaint alleges, inter alia, that child sex abuse

materials and child sexual exploitation and solicitation are prevalent on Defendants’ social media

platforms, including Facebook and Instagram, and that the design of Defendants’ social media

platforms was intended to and does cause harm to the safety and well-being of teen and adolescent

users. The State asserts (i) that Defendants made misleading and deceptive statements or omissions

concerning their platforms, including statements relating to child sex abuse materials and child

sexual exploitation and solicitation of their platforms, their enforcement actions and priorities, and

the effects of the platforms on users’ well-being; (ii) that Defendants engaged in unfair and

unconscionable trade practices in operating their platforms with knowledge of the harms that they

failed to disclose to the public; and (iii) that Defendants’ operation of their platforms in New

Mexico has caused a public nuisance.

       2.      The public version of the State’s Complaint contained redactions obscuring

material sourced from documents or other sources that Defendants had designated as

“Confidential” pursuant to a Confidentiality Agreement between Defendant Meta Platforms, Inc.

and the State. See Dkt. 1-2 at pp. 479-80. The New Mexico state court permitted filing of the

unredacted Complaint under seal. Id. at 479-83.




                                                  2
        Case 1:23-cv-01115-MIS-KK Document 32 Filed 01/17/24 Page 3 of 5




       3.      On January 9, 2024, the State filed an Amended Complaint, which contained

redactions consistent with those contained in the original Complaint (and limited redactions

pertaining to new allegations sourced from material subject to confidentiality obligations). Dkt.

26.

       4.      Given the strong public preference for public access to judicial filings in both the

federal and state judicial systems2, the State has sought to negotiate with Defendants concerning

the proper scope of redacted material contained in the complaint. Although negotiations remain

ongoing, Defendants have agreed to the public filing of a significant portion of material contained

in the State’s Amended Complaint.

       5.      Attached hereto as Exhibit 1 is a less-redacted copy of the State’s Amended

Complaint reflecting the material Defendants have agreed the State may un-redact. The State seeks

to file this less-redacted version of the Amended Complaint consistent with the presumption of

public access to court records. By submitting this less-redacted version, the State does not waive

its rights to challenge the propriety of remaining redactions, if necessary, following conclusion of

the parties’ negotiations.

       WHEREFORE, the State respectfully requests that this Court grant it leave to file the less-

redacted version of the Amended Complaint attached hereto as Exhibit 1




2
 See, e.g., Mann v. Boatright, 477 F.3d 1140, 1149 (10th Cir. 2007) (“Courts have long recognized
a common-law right of access to judicial records.”); N.M. Rule of Civ. Proc. 1-079(A) (entitled
“Presumption of Public Access”).


                                                 3
      Case 1:23-cv-01115-MIS-KK Document 32 Filed 01/17/24 Page 4 of 5




RESPECTFULLY SUBMITTED this 17th day of January, 2024.

                                    RAÚL TORREZ
                                    ATTORNEY GENERAL OF NEW MEXICO

                                    By counsel,

                                     /s/ Linda Singer
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                                       4
        Case 1:23-cv-01115-MIS-KK Document 32 Filed 01/17/24 Page 5 of 5




                                 CERTIFICATE OF SERVICE

       I certify that on January 17, 2024, I filed the foregoing electronically with the Clerk of

Court using the CM/ECF system, which caused the following parties or counsel to be served by

electronic means, as more fully reflected on the Notice of Electronic Filing:

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and Mark Zuckerberg


                                            /s/ Linda Singer
                                            Linda Singer




                                                5
